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                              Exhibit 1
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                             UNITED STATES DISTRICT COURT

                         CENTRAL DISTRICT OF CALIFORNIA



          JOSHUA ASSIFF,                   )
                                           )
                               Plaintiff, )
                                           )
                    vs.                    ) Case No. 2:22-cv-05367
                                           )            RGK(MAAx)
          COUNTY OF LOS ANGELES;           )
          SHERIFF DEPUTY BADGE             )
          NUMBER 404532; And DOES 1        )
          through 10,                      )
                                           )
                               Defendants. )
          ________________________________)




          Deposition of:            JOSHUA ASSIFF


          Date and Time:            Friday, April 14, 2023
                                    10:04 a.m.


          Place:                    841 Apollo Street
                                    Suite 100
                                    El Segundo, California


          Reporter:                 Dorothy M. Simpson, CSR
                                    Certificate No. 14323
            Joshua Assiff                                                                   1232274
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        1               A.     It's very vividly, it was a Friday morning,

        2      about 7:40 a.m.           I was on my way to basketball practice

        3      to pick up a teammate.

        4               Q.     So were you already on your way to the

        5      practice or were you on your way to pick up a teammate?

        6               A.     I was right there next to his house right

        7      before I got pulled over and the incident happened.

        8               Q.     All right.         And typically around September of

        9      2021 when you were on your way to basketball practice in

      10       the morning, what time did you wake up?

      11                A.     6:00 a.m.

      12                Q.     And is that true of that day as well?                  You

      13       woke up at around 6:00 a.m.?

      14                A.     On 2020 -- on the -- on that day of the

      15       incident?       Yes.

      16                Q.     And where did you wake up?

      17                A.     My house.

      18                Q.     Okay.      And that's the house on Lexington

      19       Drive?

      20                A.     Yes, ma'am.

      21                Q.     Okay.      And did you ingest any marijuana on

      22       that day prior to the incident?

      23                A.     No, ma'am.

      24                Q.     Do you consume marijuana?

      25                A.     No.


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        1               A.     No.

        2               Q.     On the day of the incident, September 24th,

        3      2021, did you consume any alcohol?

        4               A.     No.

        5               Q.     Can you recall the last time you used

        6      marijuana prior to the date of the incident, September

        7      24th, 2021?

        8               A.     No.

        9               Q.     And you didn't smoke any marijuana that

      10       morning?

      11                A.     No, ma'am.

      12                Q.     Okay.      Do you recall where you were at the

      13       time when you were pulled over?

      14                A.     Newhall Ranch Road.             What is that street

      15       called?       Sierra Highway off Newhall Ranch and Sierra

      16       Highway.

      17                Q.     And approximately how far away is that from

      18       the location where you first got your citation in

      19       approximately 2018?

      20                A.     Approximately probably 20, 25 minutes.

      21                Q.     They are both on Newhall Ranch Road but 25

      22       minutes of driving between the two locations?

      23                A.     One is Canyon Country.              That's all the way on

      24       the other side of town.

      25                Q.     The first time you got a traffic citation in


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        1      ticket in that area previously?

        2               A.     Sure.      I've seen somebody being pulled over

        3      there before, yes.

        4               THE REPORTER:        I'm sorry, I've seen what?

        5               THE WITNESS:        I have seen someone being pulled over

        6      there before, yes.

        7                      How would I know if they got a ticket; right?

        8      You know.

        9      BY MS. GUPTA:

      10                Q.     Accurate.        Okay.      Great.

      11                         Had you ever yourself been pulled over in

      12       that area before?

      13                A.     No.

      14                Q.     But you generally knew that to be an area

      15       where there were traffic cops out often?

      16                A.     Yeah.

      17                Q.     Okay.      All right.        So tell me what you were

      18       doing immediately before you approached the intersection

      19       of Newhall Road and Sierra Highway.

      20                A.     Slowing down, getting ready to make a right-

      21       hand turn on a green light.

      22                Q.     And were you driving on Newhall or Sierra

      23       Highway?

      24                A.     I was on Newhall beginning to make right-hand

      25       turn onto Sierra.


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        1      you did."

        2               Q.      And do you know approximately how many times

        3      you went back and forth with Sgt. Kelly?

        4               A.      No.

        5               Q.      What was your purpose in telling Sgt. Kelly

        6      that you hadn't run a red light?

        7               A.      I didn't think I ran a red light.                It was

        8      green.        That's exactly why.           I didn't believe I was in

        9      the wrong.

      10                Q.      Okay.     And once he told you that he didn't

      11       believe you or that he thought you had ran the red

      12       light, what was your purpose of continuing to argue with

      13       Sgt. Kelly?

      14                A.      It wasn't an argument.

      15                Q.      What were you doing when you say over and

      16       over again that you did not?

      17                A.      I was explaining to him what was happening.

      18       He didn't let me finish my story really.                      It was a very

      19       small amount of time.              So as you could tell from the

      20       video.        Wasn't any time for there being an argument.

      21                Q.      I understand that.            I'm just trying to ask

      22       your recollection of it.

      23                A.      Uh-huh.

      24                Q.      And so you stated one time that you did not

      25       run the red light, and then obviously Sgt. Kelly as you


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        1      Sgt. Kelly was saying?

        2               A.     In the beginning, it sounds a little too

        3      muffled when he's getting off the bike.                      I can't -- it

        4      doesn't really seem like intangible -- or not

        5      intangible -- intelligible to what he's saying.                       I can't

        6      really tell what he's saying.

        7               Q.     And then what's the first audible sentence

        8      that you hear on the video?

        9               A.     Play it for me again one more time?                  I'm

      10       sorry.

      11                      (Video playing.)

      12       BY MS. GUPTA:

      13                Q.     Is it accurate that the first audible words

      14       that can be heard are your saying "Officer" with a

      15       questioning look on your face?

      16                A.     Yeah.

      17                Q.     And what were you trying to communicate when

      18       you said that?

      19                A.     That I didn't -- I didn't run the red light,

      20       that it was a green light.

      21                Q.     So prior to you saying the word "Officer"

      22       with a questioning look on your face and a hand gesture

      23       that seemed to also indicate that you were questioning

      24       the stop, had Sgt. Kelly said anything about the reason

      25       why he had stopped you?


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        1               Q.     Okay.      And he doesn't just make a request;

        2      does he?       He actually tells you that if you don't comply

        3      with his request, you are going to go to jail.                        Do you

        4      agree that that's what he says?

        5               A.     Yes, that's what he said.

        6               Q.     Okay.      And obviously --.           No.     Strike that.

        7                      Did you agree with him that if you did not

        8      provide your driver's license that you should go to

        9      jail?

      10                A.     No, I did not agree with all that.                   No.

      11                Q.     Okay.

      12                A.     I do not think I should go to jail for that.

      13       No.

      14                Q.     And is there a reason why between the first

      15       request for the driver's license and the second request

      16       for the driver's license you did not hand it over to

      17       Sgt. Kelly?

      18                A.     We were having an argument.                  I was trying to

      19       explain to him that I did not run the red light.                        I

      20       thought it was green.              I thought I was in the right.

      21                Q.     And is it -- would it be accurate to say that

      22       you didn't hand him the driver's license because you

      23       thought that if you hand it to him, he would then just

      24       walk away and start writing you a ticket?

      25                A.     No.     The reason I didn't hand him my license


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        1      pipe?

        2               A.     I can't recall.

        3               Q.     Had -- did you ever keep the marijuana pipe

        4      in your vehicle?

        5               A.     I can't recall.

        6               Q.     Had you ever smoked marijuana in your vehicle

        7      prior to the date of the incident?

        8               A.     No.

        9               Q.     Are you -- do you know one way or the other

      10       whether there was a marijuana pipe in your vehicle on

      11       the date of the incident?

      12                A.     Yes, there was.

      13                Q.     And is that the same marijuana pipe that you

      14       had purchased?

      15                A.     Yes.

      16                Q.     And when was the last time you had used it

      17       prior to the date of the incident?

      18                A.     I have no idea.

      19                Q.     What was it doing in your car?

      20                A.     Sitting there collecting dust.

      21                Q.     Okay.      Why was it in your car?             Had you ever

      22       used it in your car before?

      23                A.     No.     Just in my car.          I didn't want to take

      24       it inside my house.

      25                Q.     And did you typically smoke marijuana in your


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        1      ground while he's telling me to get onto my stomach, he

        2      has -- it looks like he has his knee like on me.

        3                       So when I am on my side, I'm on my left arm,

        4      so I can't move, and he's telling me to shut the fuck up

        5      and to get on my stomach, but I can't because he's

        6      literally forcing me down.                  I'm trying to move.        So they

        7      are trying to make it seem like I'm struggling, so they

        8      can abuse me more.

        9                       I was -- I was never --.               There was no --

       10      there was no fight.             It wasn't me, you know, besides me

       11      pulling my arm back, none of that.                    While all that was

       12      going on, I didn't kick, I didn't punch, nothing.                        You

       13      know?        So, yeah.

       14               Q.      Okay.     You mentioned that there's a -- you

       15      can see a knee on you.               But now just from your

       16      recollection, outside of what you recall seeing on the

       17      video, do you know which part of your body the knee was

       18      on?

       19               A.      It was on my side.

       20               Q.      Touching?

       21               A.      It would have been on my side, on my opposite

       22      side, because I was on one side, so, I mean, the knee

       23      would have been -- I'm not 100 percent recollection,

       24      maybe on like my rib cage.                  I'm not 100 sure.       Don't

       25      know.


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        1                      DEPOSITION OFFICER'S CERTIFICATION

        2                      I, DOROTHY M. SIMPSON, CSR No. 14323,

        3      Certified Shorthand Reporter, certify:

        4                     That the foregoing proceedings were taken

        5      before me at the time and place therein set forth, at

        6      which time the witness declared under penalty of

        7      perjury; that the testimony of the witness and all

        8      objections made at the time of the examination were

        9      recorded stenographically by me and were thereafter

       10      transcribed under my direction and supervision;

       11                     That the foregoing is a full, true, and

       12      correct transcript of my shorthand notes so taken and of

       13      the testimony so given;

       14                     (X)      Reading and signing was requested.

       15                     (    )   Reading and signing was waived.

       16                     (    )   Reading and signing was not requested.

       17                     I further certify that I am not financially

       18      interested in the action, and I am not a relative or

       19      employee of any attorney of the parties, nor of any of

       20      the parties.

       21                     I declare under penalty of perjury under the

       22      laws of California that the foregoing is true and

       23      correct.       Dated this 25th day of April, 2023.

       24
                               _____________________________________
       25                      Dorothy M. Simpson, CSR No. 14323


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